                             IN THE U.S. DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

 UNITED STATES of AMERICA
      Plaintiff,
 v.                                               18-00293-2

 TREVOR SCOTT SPARKS
      Defendant.


               MOTION FOR APPOINTMENT OF SUBSTITUTE ATTORNEY

       Defendant Trevor Sparks, by and through appointed counsel Joseph W. Vanover, moves

this Court appoint a new attorney for defendant and withdraw the undersigned from this case.

Mr. Sparks offers the following:

                                   SUGGESTIONS IN SUPPORT

       1.      Mr. Sparks and others were indicted on December 12, 2018 by a superseding

Indictment (Doc. 18) which alleged Mr. Sparks engaged in a continuing criminal enterprise

(count three), conspired to launder money (count two), possessed firearms in furtherance of

crimes of violence and drug trafficking crimes (count four), and possessed firearms following

conviction for a felony (count five). Mr. Sparks is presently charged with the same offenses by

the second superseding Indictment (Doc. 127). The case is currently on the trial docket starting

August 10, 2020.

       2.      Mr. Sparks has directed the undersigned to file a motion with the Court asking

that a new attorney be appointed to represent the defendant and allowing the undersigned to

withdraw.

       3.      Mr. Sparks has informed the undersigned that he believes the undersigned does

not do things Mr. Sparks asks related to this case. Mr. Sparks has informed the undersigned that




         Case 4:18-cr-00293-DGK Document 252 Filed 06/09/20 Page 1 of 2
Mr. Sparks would feel more comfortable if the undersigned withdrew from this case. Mr. Sparks

has informed the undersigned that he will write a letter to the court with more information

relevant to this motion.

       4.      Mr. Sparks has reviewed this motion and asks that it be granted.

       WHEREFORE, the Defendant, Trevor Sparks, requests the Court (1) hold and not decide

this motion until the court receives and reviews the letter from defendant containing more

information, and (2) after review of this motion and the forthcoming letter from defendant, grant

the motion or set it for hearing.

                                             Vanover Law LLC


                                             /s/ Joseph W. Vanover
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                                             jvanover@vanoverlaw.net
                                             Attorney for Trevor Sparks


                                    CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that the above and foregoing was transmitted to
opposing counsel of record via the CM-ECF system on the date electronically stamped on the
lower edge of this document.

                                             by:    /s/ Joseph W. Vanover
                                             Joseph W. Vanover #48074
                                             Attorney for Trevor Sparks




         Case 4:18-cr-00293-DGK Document 252 Filed 06/09/20 Page 2 of 2
